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                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


UNTIED STATES OF AMERICA,

                        Plaintiff,

v.
                                                          Case No. 12-20066-40-KHV

CARLOS GILCHRIST,

                        Defendant.

                                               ORDER

            Carlos Gilchrist was arrested and charged with drug-related crimes. On the day

his trial was to begin, he decided to enter a plea of guilty, which was accepted by the

undersigned U.S. Magistrate Judge, James P. O=Hara (ECF doc. 929).1 Mr. Gilchrist has

now filed a motion to withdraw his guilty plea pursuant to Fed. R. Crim. P. 11(d)(2),

claiming the government committed a Brady2 violation by failing to disclose information

prior to a suppression hearing and, ultimately, the entry of his plea (ECF doc. 1166). He

has also filed a motion to disqualify Assistant U.S. Attorney Terra Morehead from any

proceedings concerning his motion to withdraw his plea, stating that he would like to

subpoena Ms. Morehead to testify at any hearing held on the motion to withdraw (ECF

doc. 1250). Finally, Mr. Gilchrist has moved to continue a hearing that was previously


        1
            Mr. Gilchrist consented to proceed before a magistrate judge. ECF doc. 930.
        2
            Brady v. Maryland, 373 U.S. 83 (1963).

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scheduled for January 29, 2014, to address any questions the court had regarding his

motion to withdraw his plea (ECF doc. 1249).

        The court has reviewed the briefs and determines that a hearing on this matter is not

necessary. As is explained below, the resolution of the motion to withdraw the entry of

the guilty plea turns on legal, rather than factual, issues. Thus, Mr. Gilchrist’s motions to

continue the hearing and to disqualify Ms. Morehead are denied as moot. Ultimately, the

court also denies the motion to withdraw the entry of the plea because Mr. Gilchrist has not

demonstrated a fair and just reason for the withdrawal.

I.      Background

        In a second superseding indictment issued on October 3, 2012, a grand jury charged

Mr. Gilchrist and some fifty other defendants with conspiracy to manufacture, to possess

with intent to distribute, and to distribute 280 grams or more of cocaine base (Acrack

cocaine@), and to possess with intent to distribute five kilograms or more of cocaine, in

violation of 21 U.S.C. ' 841(a)(1), (b)(1)(A)(ii) & (iii), and 21 U.S.C. ' 846.3 It further

charged Mr. Gilchrist with possession with intent to distribute cocaine in violation of 21

U.S.C. ' 841(a)(1) & (b)(1)(C), and 18 U.S.C. ' 2, based on Mr. Gilchrist=s actions on

August 24, 2011. 4 The court designated the case as Acomplex@ under 18 U.S.C. '

3161(h)(7),5 and discovery proceeded pursuant to a general order of discovery.6

        3
            ECF doc. 402 (Count 1).
        4
            Id. (Count 39).
        5
            ECF doc. 287.

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        On June 10, 2013, Mr. Gilchrist filed a motion to suppress evidence seized from his

person and residence, as well as all statements he made to law enforcement, following his

detention and ultimate arrest on August 24, 2011.7 Mr. Gilchrist argued his detention was

illegal because it was not based on reasonable suspicion, and the subsequent pat down of

his person was illegal because he presented no articulable risk of harm to law enforcement

or others. At a suppression hearing held before the presiding U.S. District Judge, Kathryn

H. Vratil, the government only presented one witness, Special Agent Nick Wills, who led

the investigation into the alleged conspiracy.8 Agent Wills testified that he was present

when Special Agent Tim McCue detained and frisked Mr. Gilchrist, and described what he

allegedly observed. Mr. Gilchrist testified on his own behalf and disputed Agent Wills=s

account of the detention and pat down by Agent McCue. On August 1, 2013, Judge Vratil

denied Mr. Gilchrist=s motion to suppress evidence.9

        The trial of Mr. Gilchrist and eight of his co-defendants was scheduled to begin on

August 5, 2013. Before the trial began that day, however, Mr. Gilchrist notified the court

of his desire to plead guilty. Mr. Gilchrist and the government entered into a written plea

agreement, whereby Mr. Gilchrist agreed to plead guilty to the conspiracy charge and the


        6
            ECF doc. 288.
        7
            ECF doc. 764.
        8
            ECF doc. 902.
        9
            ECF doc. 922.


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government agreed to dismiss the drug possession charge stemming from Mr. Gilchrist=s

alleged actions on August 24, 2011.10 The undersigned accepted Mr. Gilchrist=s guilty

plea that afternoon during a hearing that included a detailed Fed. R. Crim. P. 11 colloquy.11

        On December 16, 2013, Mr. Gilchrist filed the present motion to withdraw his plea

of guilty. He asserts that at some unstated time A[a]fter the plea hearing, Mr. Gilchrist=s

counsel learned from a fellow defense attorney that there was evidence of misconduct by

Agents Jones and McCue that should have been turned over to the defense by the

government under Giglio 12 and the General Discovery Order.@ 13                  Based on the

government=s alleged Giglio/Brady violation, Mr. Gilchrist would like the opportunity to

renew his motion to suppress. If the renewed motion to suppress is denied and the case

proceeds to trial, Mr. Gilchrist would like the opportunity to call Agent McCue as a witness

to evaluate his written report about statements Mr. Gilchrist allegedly made after his arrest.

II.     Legal Standards


        10
             ECF doc. 932.
        11
             ECF doc. 929.
        12
             Giglio v. United States, 405 U.S. 150 (1972).
        13
         ECF doc. 1166 at 6. Mr. Gilchrist=s motion does not go on to explain what
Giglio/Brady information was ever learned about Agent Jones, nor how any such
information would affect the voluntariness of his guilty plea. The government states in its
brief that there is not Aeven a scintilla of evidence concerning the existence of anything that
could be remotely viewed as misconduct by TFO Jones.@ ECF doc. 1184 at 6. Mr.
Gilchrist did not file any reply brief to dispute the government’s assertion in this regard.
Thus, the court will not consider Mr. Gilchrist=s unsupported reference to Agent Jones.


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        A defendant may withdraw a plea of guilty before sentencing if he shows Aa fair and

just reason for requesting the withdrawal.@14 The Tenth Circuit has set out seven factors

for courts to consider in evaluating whether a defendant has met his burden of showing a

fair and just reason for withdrawal:

        (1) whether the defendant has asserted his innocence; (2) whether
        withdrawal would prejudice the government; (3) whether the defendant
        delayed in filing his motion, and if so, the reason for the delay; (4) whether
        withdrawal would substantially inconvenience the court; (5) whether close
        assistance of counsel was available to the defendant; (6) whether the plea
        was knowing and voluntary; and (7) whether the withdrawal would waste
        judicial resources.15

The court should Aview a motion to withdraw with favor, granting the defendant >a great

deal of latitude.=@16 Ultimately, however, it is within the sound discretion of the trial court

to determine what circumstances justify granting such a motion.17

III.    Analysis

        Mr. Gilchrist relies primarily on the sixth factor in seeking to set aside his guilty

plea, arguing it was not knowing and voluntary because the government failed to disclose

possibly impeaching or exculpatory evidence in violation of Brady and Giglio. The court

will therefore address that factor first, before going on to briefly consider the other six

        14
             Fed. R. Crim. P. 11(d)(2)(B).
        15
             United States v. Byrum, 567 F.3d 1255, 1264 (10th Cir. 2009).
        16
         United States v. Sandoval, 390 F.3d 1294, 1297 (10th Cir. 2004) (quoting United
States v. Rhodes, 913 F.2d 839, 845 (10th Cir. 1990)).
        17
             Id. at 1298.


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factors.

        Whether the plea was knowing and voluntary. AA guilty plea is void if it is not

knowing and voluntary.@18 Mr. Gilchrist asserts he could not have knowingly entered his

guilty plea because, at the time, he was not aware of conduct by Agent McCue that would

tend to show his character for untruthfulness. 19 Specifically, Mr. Gilchrist states the

government did not disclose the civil case of Bowling v. United States,20 in which an

arrestee sued Agent McCue and others for assault, battery, and excessive force. After a

bench trial in that case, the presiding U.S. District Judge, Julie A. Robinson, issued a

written opinion in which she found much of Agent McCue=s testimony Anot credible@21 and

ultimately granted judgment for the plaintiff. Mr. Gilchrist argues that the government

was required to disclose such information pursuant to Brady and Giglio, as well as by the

order of discovery in this case which specifically requires production of Brady/Giglio

material. 22 According to Mr. Gilchrist, the written custodial report created by Agent

        18
             United States v. Gigley, 213 F.3d 509, 516 (10th Cir. 2000).
        19
         ECF doc. 1166 at 10 (A[K]nowledge of Giglio material was essential in Mr.
Gilchrist’s determination of whether to enter a plea.@).
        20
             740 F. Supp. 2d 1240 (D. Kan. 2010).
        21
             Id. at 1259.
        22
        See ECF doc. 288 at 5 (APursuant to Brady and Giglio and their progeny, the
government shall produce any and all evidence in its possession, custody or control which
would tend to exculpate the defendant (that is, evidence which is favorable and material to
a defense), or which would constitute impeachment of government witnesses, or which
would serve to mitigate punishment, if any, which may be imposed in this case.@).


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McCue recounting a post-arrest interview between Mr. Gilchrist and Agent McCue is

erroneous. In that report, Agent McCue noted that Mr. Gilchrist admitted making weekly

purchases of cocaine since June 2001 from Djuane Sykes, the person at the center of the

alleged conspiracy, and described how he converted the purchased cocaine into crack

cocaine. Mr. Gilchrist disputes he made any such admissions. He states that, had he

known of the Bowling case, he would have called Agent McCue as a witness at the

suppression hearing and, if necessary, at a future trial, to test his credibility. He further

asserts the Bowling case could have been used at the suppression hearing to show that

Agent McCue tends to be overly aggressive in detaining citizens.

        Under Brady, the government is required to provide a defendant, prior to trial, any

evidence favorable to the accused and material to guilt or punishment.23 Giglio held that

evidence which could be used to impeach a witness falls under Brady=s purview. 24

Nonetheless, Mr. Gilchrist=s argument that his plea was not knowing and voluntary

because of a Brady/Giglio violation fails for a number of reasons.

        First, the Supreme Court effectively foreclosed this argument in United States v.

Ruiz.25 The defendant in Ruiz appealed her sentence, which was entered after she pleaded

guilty. The Ninth Circuit vacated the sentence because it found the government had

        23
             Brady, 373 U.S. at 87.
        24
        Giglio, 405 U.S. at 766; Smith v. Sec=y N.M. Dep=t of Corr., 50 F.3d 801, 825 (10th
Cir. 2005).
        25
             536 U.S. 622, 629 (2002).


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refused to recommend a sentencing departure solely because the defendant would not

waive her right to Brady information.26 The Supreme Court rejected the Ninth Circuit=s

ruling, which it characterized as holding Athat a guilty plea is not >voluntary= . . . unless the

prosecutors first made the same disclosure of material impeachment information that the

prosecutors would have had to make had the defendant insisted upon a trial.@ 27 The

Supreme Court held that prosecutors have no obligation to disclose material impeachment

information prior to a defendant=s plea of guilty to ensure the plea is knowing and

voluntary.28 The Court reasoned that Aimpeachment information is special in relation to

the fairness of a trial, not in respect to whether a plea is voluntary (>knowing,= >intelligent,=

and >sufficient[ly] aware=).@29 The Court went on to say, AIt is particularly difficult to

characterize impeachment information as critical information of which the defendant must

always be aware prior to pleading guilty given the random way in which such information

may, or may not, help a particular defendant.@30


        26
             United States v. Ruiz, 241 F.3d 1157 (9th Cir. 2001).
        27
             Ruiz, 536 U.S. at 628.
        28
        Id. at 633 (A[T]he Constitution does not require the Government to disclose
material impeachment evidence prior to entering a plea agreement with a criminal
defendant.@).
        29
         Id. at 629 (emphasis and modification in original). See also id. at 634 (Thomas,
J., concurring) (AThe principle supporting Brady was >avoidance of an unfair trial to the
accused.= Brady v. Maryland, 373 U.S. 83, 87, 83 S.Ct. 1194, 10 L.ED.2d 215 (1963).
That concern is not implicated at the plea stage regardless.@).
        30
             Id. at 630; see also, id. at 631 (noting that due-process considerations which

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        Applying Ruiz, the Tenth Circuit has rejected the argument that a guilty plea is not

knowing and voluntary when the government withholds Ainformation regarding the

credibility and qualifications of an arresting officer.@31 In United States v. Johnson, the

defendant argued that Ahis plea was not knowing or voluntary because he did not know that

he was giving up a claim that the government failed to disclose impeachment evidence.@32

The Tenth Circuit ruled, A>a waiver [is] knowing, intelligent, and sufficiently aware if the

defendant fully understands the nature of the right and how it would likely apply in general

in the circumstancesCeven though the defendant may not know the specific detailed

consequences of invoking it,=@ and thus held, A[the defendant] understood that he was

giving up his right to cross examine government witnesses.@33

        Second, to the extent that Mr. Gilchrist argues that he should be permitted to

withdraw his guilty plea because the government did not disclose the Bowling case in time

for him to use the information about Agent McCue at the suppression hearing, his

argument also fails. Initially, the court notes that the Tenth Circuit recently indicated,

albeit in dicta, that Brady=s disclosure requirements likely do not apply at the motion to


ensure that the government will provide information establishing the factual innocence of
the defendant, as well as Rule 11 safeguards, diminish any Aconcern that, in the absence of
impeachment information, innocent individuals, accused of crimes, will plead guilty@).
        31
         United States v. Johnson, 369 F. App=x 905, 906 (10th Cir. 2010) (granting motion
to enforce appeal waiver and dismissing appeal).
        32
             Id.
        33
             Id. at 906B07 (quoting Ruiz, 536 U.S. at 629) (emphasis in original).


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suppress stage of the case.           In United States v. Lee Vang Lor, the Court stated,

ASuppression hearings do not determine a defendant=s guilt or punishment, yet Brady rests

on the idea that due process is violated when the withheld evidence is >material either to

guilt or to punishment.=@34 But even if the court were to determine that Brady and Giglio

were relevant at the suppression stage, the court would conclude the government did not

violate the Brady standard.           Under Brady, a defendant must show the prosecution

suppressed evidence that was favorable to the defendant and material to a defense.35

        The government argues that it did not Asuppress evidence@ of the Bowling case

because the case was a matter of public record and not solely in the possession or control of

the government.36 The court finds direct support for the government=s argument in United

States v. McDaniel. 37 There, the defendant sought a new trial after he learned the

government failed to disclose information about Bowling, specifically, that Judge

Robinson had found Agent McCue=s version of the events offered in that case lacking in

credibility.38 At the defendant=s trial in McDaniel, Agent McCue had testified that he had

participated in the defendant=s arrest and identified the defendant=s voice on intercepted

        34
        706 F.3d 1252, 1256 (10th Cir. 2013) (quoting United States v. Bowie, 198 F.3d
905, 912 (D.C. Cir.1999)).
        35
             Scott v. Mullin, 303 F.3d 1222, 1230 (10th Cir. 2002).
        36
             Doc. 1184 at 7B8.
        37
             No. 07-20168, 2011 WL 5331663, at *3 (D. Kan. Nov. 7, 2011).
        38
             Id. at *4.


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phone calls. The presiding U.S. District Judge, John W. Lungstrum, held there was no

Brady violation because the information from Bowling was available to the defendant from

another source: AHere, evidence of pending litigation against Agent McCue was public

record and was available to the defendant from another source. Thus, the government did

not suppress evidence as the pending litigation against Agent McCue was not wholly

within control of the prosecution or its agents.@39 Given this on-point caselaw, the court

cannot find that Mr. Gilchrist=s Brady rights were violated at the suppression hearing.

        The court concludes that Mr. Gilchrist has not established that his plea was not

knowing or voluntary. Accordingly, this factor weighs in the government=s favor.

        Whether the defendant has asserted his innocence. Mr. Gilchrist claims in his

motion to have Aalways maintained his innocence of the conspiracy charge he pled to in

Count I of the Indictment.@40 But Mr. Gilchrist admits he met Mr. Sykes on one occasion

and purchased cocaine from Mr. Sykes on three to four occasions through a third party.

Moreover, Mr. Gilchrist=s assertion of innocence is completely belied by his plea

agreement and admissions, made under oath, at the plea colloquy.41 In pleading guilty,



        39
             Id.
        40
             ECF doc. 1166 at 8.
        41
        See United States v. Ferguson, No. 08-10229-01-WEB, 2009 WL 1360216, at *3
(D. Kan. May 13, 2009) (AAt the time of his plea of guilty, [defendant] assured the
courtCunder oathCthat he was guilty of the offense. He now states directly to the
contrary. His explanation for the inconsistency is unclear and unconvincing.@).


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Mr. Gilchrist admitted the facts constituting the elements of the conspiracy offense.42 He

also stated that he believes the government has the evidence to prove these factual

allegations. Mr. Gilchrist does not now claim that he made any false statements during

the plea colloquy.43 AWhile an assertion of innocence may, in some cases, satisfy [this]

factor, the >mere assertion of a legal defense is insufficient; the defendant must present a

credible claim of legal innocence.=@44 This factor weighs against permitting withdrawal.

        Whether withdrawal would prejudice the government. Although A[s]ome degree of

prejudice is inevitable when the Court permits a defendant to withdraw his plea,@45 the

government alleges no specific prejudice in this instance. A trial is scheduled to begin in

March 2014 for some of Mr. Gilchrist=s co-defendants in this case. Mr. Gilchrist could be

added to that trial docket at minimal extra cost to the government. Thus, this factor is not

significant in this case.

        Whether the defendant delayed in filing his motion, and if so, the reason for the

delay. Mr. Gilchrist has not demonstrated his motion to withdraw was timely. He does

not state when he learned of the information concerning Agent McCueCif it was shortly


        42
             See ECF doc. 932 at 3 & Exh. A.
        43
        See United States v. Byrum, 567 F.3d 1255, 1264 (10th Cir. 2009) (AEven on
appeal he does not disclaim his admissions of guilt at the plea colloquy.@).
        44
             Id. (quoting United States v. Hamilton, 510 F.3d 1209, 1214 (10th Cir. 2007)).
        45
         United States v. Calvin, No. 12-20006-01-KHV, 2013 WL 491939, at *2 (D. Kan.
Feb. 8, 2013).


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after the entry of his guilty plea in August 2013, then the four-month delay in filing this

motion is unreasonable.46 Mr. Gilchrist does make the conclusory statement that any

delay in filing his motion resulted from Athe complexity of the case, the voluminous

discovery, and the time constraints@ on his counsel.47 But, without any specific facts

demonstrating the delay was reasonable, this factor weighs against allowing the

withdrawal.

        Whether withdrawal would substantially inconvenience the court or waste judicial

resources. Any withdrawal of a plea is inconvenient to the court and wastes judicial

resources.48 But as noted above, another trial in this case is on the court=s schedule for

March 2014. Mr. Gilchrist could be added to that docket without much inconvenience or

cost to the court, making these factors a wash.

        Whether close assistance of counsel was available to the defendant. There is no

dispute Mr. Gilchrist had competent counsel advising him during the process of both his

suppression motion and plea. This factor weighs in the government=s favor.

        Balance of the factors. The balance of factors weighs against allowing withdrawal

of Mr. Gilchrist’s guilty plea. Taken together, the court concludes the circumstances do

        46
        See id. (three-month delay weighed against defendant); United States v. James,
No. 10-20129-08-KHV, 2011 WL 2463637, at *1 (D. Kan. June 21, 2011) (ten-week delay
weighed against defendant); United States v. Gibson, 176 F.3d 489, 1999 WL 298181, at
*3 (10th Cir. 1999) (Table) (three-month delay weighed against defendant).
        47
             ECF doc. 1166 at 8.
        48
             Calvin, 2013 WL 491939, at *2B3.


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not show a fair and just reason for permitting Mr. Gilchrist to withdraw his plea of guilty.

        Mr. Gilchrist’s motion to disqualify Ms. Morehead is predicated on the notion that

she had an obligation to disclose the Bowling case. The court has found that Ms.

Morehead had no such obligation. The motion to disqualify is therefore denied as moot.

        IT IS THEREFORE ORDERED:

        1. Mr. Gilchrist=s motion to withdraw his guilty plea is denied.

        2. Mr. Gilchrist’s motion to disqualify Ms. Morehead is denied as moot.

        3. Mr. Gilchrist’s motion to continue the motion hearing is denied as moot.

        Dated January 29, 2014, at Kansas City, Kansas.



                                               s/ James P. O=Hara
                                               James P. O=Hara
                                               U.S. Magistrate Judge




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